      Case 1:25-cv-02286-LDH-JAM                   Document 2           Filed 04/25/25     Page 1 of 3 PageID #: 22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District of New York


           CRISOGONO CHAVEZ MONTANO                             )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                V.
                                                                )        Civil Action No. 25-cv-2286
                                                                )
    MERCY BAKERY CAFE LLC d/b/a Masai Cafe,                     )
     BERR LLC d/b/a MASAL PLUS CAFE and                         )
            SELAHATTIN KARAKUS                                  )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) See Attached Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received i t ) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - y o u must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Colin Mulholland, Esq.
                                  36-36 33rd Street, Suite 308
                                  Astoria, NY 11106
                                  (347) 687-2019



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT


Date: - - - 4
            - - -/-2
                   - -5
                      - /2025
                                                                                      Signature o f Clerk or Deputy Clerk
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 Civil Action No. 25-cv-2286

                                                        PROOF OF SERVICE
                       (This secti.on should not he filed wi,th the court unless required hy Fed R. Civ. P. 4 (l))

           This summons for (name o f individual and title, i f any)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name o f individual)                                                                    , who is
            designated by law to accept service of process on behalf of {name o f organization)
                                                                                on (date)                            ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify).




           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:




           Print                       Save As ...                                                                    Reset
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                                        RIDER

 MERCY BAKERY CAFE LLC
 1901 Emmons Ave
 Brooklyn, NY 11235

 BERR LLC d/b/a MASAL PLUS CAFE
 1809 Emmons Ave
 Brooklyn, NY 11235

 SELAHATTIN KARAKUS
 1725 Emmons Ave Apt B15
 Brooklyn, NY 11235-2731
